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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   NO. 4:13CR00344-01 JLH

MARK LYLE DODSON                                                                       DEFENDANT

                                               ORDER

          Defendant Mark Lyle Dodson was committed to the custody of the Attorney General for a

mental evaluation on September 2, 2014. The Court received the written forensic evaluation of

defendant on December 8, 2014.

          The September 2, 2014 Order indicated that fourteen (14) days from the date the examination

report is received by the Court and the parties, any party who requests a hearing regarding any issues

in the report or opposes the report must file a motion for hearing or a motion in opposition, including

a concise statement of opposition to the report and supporting authorities. If no motions are filed

within fourteen (14) days, the Court will enter an Order adopting or rejecting the conclusions set

forth in the report, and the period of excludable delay will end.

          In the event counsel for the government or defendant disputes the findings in the forensic

evaluation report, a motion for hearing, or motion in opposition to the report, including a concise

statement of opposition to the report and supporting authorities, must be filed by DECEMBER 23,

2014. If no motions are filed, the Court will enter an Order based on the conclusions set forth in the

report.

          IT IS SO ORDERED this 11th day of December, 2014.


                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
